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                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

                                                )
UNITED STATES OF AMERICA,                       )
                                                )   Case No. 2:14-CR-00470 DN
                        Plaintiff,              )
            vs.                                 )   REPLY MEMORANDUM IN SUPPORT
                                                )   OF MOTION TO AMEND THE
PHILLIP KAY LYMAN,                              )   MANNER AND SCHEDULE OF
                                                )   PAYMENT OF RESTITUTION
                        Defendant.              )
                                                )   Honorable David Nuffer


          The United States has moved to amend Defendant Phillip Lyman’s restitution payment

schedule from a minimum of $100 per month to $500 per month based upon his new source of

income as a State Representative (herein “the United States’ Motion” or “the Motion”). 1 In Mr.

Lyman’s Response to the United States Motion, 2 he argues that his annual income has actually

decreased by $25,000 per year with his election to the Utah State Legislature. By so arguing, Mr.

Lyman establishes that his economic circumstances have changed, which authorizes this Court to

adjust his payment schedule under 18 U.S.C. § 3664(k) “as the interests of justice require.”

Although Mr. Lyman argues that his income has decreased, he does not argue that he cannot afford



1
    Document No. 279.
2
    Document No. 280.

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to pay $500 per month towards restitution. The United States will show that, even assuming his

income has decreased as he claims, Mr. Lyman is more than able to pay $500 per month. Finally,

Mr. Lyman argues that the criminal case and restitution order against him are unjust, and accuses

the United States of improper motives. The merits of Mr. Lyman’s conviction and restitution order

are already adjudicated, and the United States will not re-litigate them here. As to the United

States’ motive, the United States is simply seeking to collect a debt, and Mr. Lyman’s accusations

are misplaced.

               1. Mr. Lyman establishes that his economic circumstances have changed, and
                  therefore, this Court has the discretion to adjust his payment schedule.

           By arguing that his annual income decreased by $25,000 per year when he left his position

as San Juan County Commissioner to take the position as Utah State Representative, Mr. Lyman

establishes that his economic circumstances have changed. 3 He is correct that the United States

overlooked the fact that when he acquired a new source of income as Representative he also gave

up a source of income as County Commissioner, but in the end this matters little because any

material change in the defendant’s economic circumstances allows the Court to adjust the

defendant’s payment schedule to serve the interests of justice. And even with his allegedly

decreased income, Mr. Lyman can afford to pay $500 per month towards restitution.

           18 U.S.C. § 3664(k) provides that when a defendant experiences “any material change in

the defendant’s economic circumstances that might affect the defendant’s ability to pay restitution

… the court may, on its own motion, or the motion of any party, including the victim, adjust the

payment schedule, or require immediate payment in full, as the interests of justice require.” The



3
    Document No. 280, p. 1.

                                                   2
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Tenth Circuit has twice held that the court can only adjust a defendant’s restitution payment

schedule under § 3664(k) when the defendant’s economic circumstances materially change. 4

United States v. Simpson-El, 856 F.3d 1295 (10th Cir. 2017) (affirming district court’s adjustment

of restitution upon material change of circumstances because, although defendant’s receipt of a

$200,000 settlement payment did not increase his monthly income, it made cash more readily

available); United States v. Grigsby, 665 F. App’x 701, 706 (10th Cir. 2016) (unpublished)

(affirming the district court’s order to liquidate the defendant’s retirement account, holding “we

conclude that the district court correctly held that the discovery of the concealed retirement account

qualified as a change in economic circumstances for purposes of 18 U.S.C. § 3664(k)”).

           Mr. Lyman argues that his annual income decreased by $25,000 with his election to the

Utah State Legislature, and by so arguing, Mr. Lyman establishes that his economic circumstances

have materially changed. This Court, therefore, has the discretion to adjust Mr. Lyman’s payment

schedule under § 3664(k).

               2. The interests of justice require Mr. Lyman to pay at least $500 per month
                  towards restitution, even assuming his alleged reduction in income.

           When a defendant’s economic circumstances change, the law requires the court to adjust

his or her restitution payment schedule “as the interests of justice require.” § 3664(k). Here, the

interests of justice require an increase in Mr. Lyman’s restitution payments. The law does not

require the court to lower a defendant’s payments, or even maintain them at the same amount,



4
    This is why the United States has not previously moved to increase Mr. Lyman’s monthly payments, even though it
     appears that, at the time of sentencing, the Court had determined that Mr. Lyman could afford to pay $500 per
     month. Document No. 269, p. 93, ll. 7-10 (“THE COURT: …I’m going to go to a minimum of $100.00. I’m
     recommending an initial rate of 500, but the minimum would be 100 because I don’t want to get the Tenth Circuit
     to tell me what Mr. Bennett just told me.”) As far as the United States knows, Mr. Lyman did not experience a
     material change in his economic circumstances until he was elected to the Utah State Legislature.

                                                          3
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when a defendant’s economic circumstances worsen. Although this might sometimes be the just

result, there are many possible situations where this result would be unjust. For example, in United

States v. McClamma, 146 F. App’x 446 (11th Cir. 2005), the Eleventh Circuit upheld the district

court’s denial of the defendant’s motion to lower his monthly restitution payments based upon his

new agreement with the IRS to pay $700 per month towards past due taxes. The Eleventh Circuit

found that:

               the district court did take notice of McClamma’s new $700 monthly
               obligation to the IRS and analyzed its impact. That new obligation
               notwithstanding, the district court found that McClamma was still
               paying $1,500 per month in restitution while also paying to credit
               card companies at least $827 per month more than the monthly
               minimum payments. Thus, by reducing the amount paid to credit
               card companies to the monthly minimums, the district court found
               that McClamma would have the ability to pay $2,200 per month in
               restitution.

Id. at 449. The Eleventh Circuit also noted that “the district court found incredible McClamma’s

claim that he had $4,818 in monthly obligations apart from the restitution obligation.” Id. at 448.

What McClamma tells us is that, regardless of whether the defendant’s economic circumstances

have improved or worsened, his or her payment schedule should be based upon his or her ability

to pay. Here, the court should increase Mr. Lyman’s monthly payments, even though Mr. Lyman

argues that his annual income has decreased, because Mr. Lyman always could, and still can afford

to pay $500 per month.

       Mr. Lyman does not argue in his Response that he lacks the resources to pay $500 per

month towards restitution, nor does he provide any evidence to support such a claim. In fact, he




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declines to provide any specific financial information with his Response. 5 Under 18 U.S.C. §

3664(e), “[t]he burden of demonstrating the financial resources of the defendant and the financial

needs of the defendant’s dependents, shall be on the defendant.” Mr. Lyman has failed to meet

this burden, and, on this basis alone, the Court could increase Mr. Lyman’s monthly payments.

The burden on a moving party under § 3664(k) is merely that it provide “notice” to the Court of a

change in the defendant’s economic circumstances. However, the United States will go beyond

the notice requirement, and will affirmatively demonstrate that Mr. Lyman can afford to pay $500

per month, even assuming that his income has decreased.

        To determine an appropriate restitution payment schedule, the Court should consider the

factors set forth under 18 U.S.C. § 3664(f) – the defendant’s financial resources and other assets,

his projected earnings and other income, and his financial obligations – as well as the 18 U.S.C. §

3572(d)(2) mandate that the defendant shall be ordered to pay restitution in “the shortest time in

which full payment can reasonably be made.” The most recent financial information available to

the United States from Mr. Lyman are the “FLU Statement,” dated October 10, 2017, and

“Lyman’s Statements,” dated December 31, 2017, which the United States previously filed as

Exhibits C and D to its Motion, 6 as well as the evidence of Mr. Lyman’s new income as a State

Representative, and Mr. Lyman’s assertions regarding his discontinued County Commissioner

income. Filed herewith as Exhibit E1 is an updated spreadsheet that synthesizes the foregoing




5
  Document No. 280, p. 7 (“Knowing that this information I am providing can and will be used against me, I will not
  provide any more information about my financial situation in this brief.”)
6
  Document No. 279-3 and Document No. 279-4, respectively.

                                                        5
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financial information, 7 and compares Mr. Lyman’s income and expenses to the IRS Collection

Financial Standards (IRS Standards). 8&9

           As reported,




                                                                                             Put another way, he is

currently spending 287.7% of the necessary life expenses permitted under the IRS Standards. As

in McClamma, Mr. Lyman’s excessive expenses demonstrate his ability to pay significantly more

than $100 per month towards restitution.

           Mr. Lyman also owns significant real estate holdings, including his home and six parcels

of commercial real estate in Blanding, Utah. In Lyman’s Statements, Mr. Lyman estimated



                                                                            The value and equity of Mr. Lyman’s



7




8
    https://www.irs.gov/businesses/small-businesses-self-employed/collection-financial-standards
9
    The IRS Standards are intended for use in calculating repayment of delinquent taxes. Although they are authoritative
     in that context, in this context, where the United States seeks to enforce a restitution judgment, they are merely a
     tool for analyzing a defendant’s economic circumstances, and they do not have legal authority.
10




11
     Document No. 279-4, p. 1.
12
     Document No. 279-3, p. 5.

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commercial property is more difficult to determine because he gave conflicting accounts of its

value and equity.



                                                                                          By both

estimates, Mr. Lyman holds equity in his commercial properties.           However, because this

information is inconsistent, and therefore unreliable, the United States has independently analyzed

the value of Mr. Lyman’s commercial property.

       The United States recently consulted an appraiser familiar with the Blanding real estate

market, who estimated that the commercial properties are worth a total of about $400,000. The

United States also contacted the San Juan County Recorder’s office by telephone who reported

that Zions Bank recorded a Deed of Trust against the commercial property in 2012 that purports

to secure a debt in the amount of $282,190. Therefore, the United States believes there is at least

$117,810 net equity in Mr. Lyman’s commercial properties, and likely more, as the loan balance

has undoubtedly been paid down over the last seven years.            In total, the United States

conservatively estimates that Mr. Lyman’s real estate holdings contain net equity of approximately

$202,511.

       The above analysis of Mr. Lyman’s assets, income, and expenses clearly shows that he has

the ability to pay $500 toward restitution, and therefore, ordering him to do so would serve the

interests of justice. Raising Mr. Lyman’s monthly payments to $500 would also serve the interests


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of justice in two other important ways. First, it would ensure that Mr. Lyman’s restitution debt

would be paid in full before the judgment expires. Second, it would ensure that Mr. Lyman, who

receives a publicly-funded income, would also pay his public debt.

                                                    CONCLUSION

           For all the foregoing reasons, the United States respectfully requests that the Court increase

Defendant Phillip Lyman’s restitution payments to $500 per month, or to any amount that the

Court determines would best serve the interests of justice. 15

           DATED this 4th day of April, 2019.


                                                          JOHN W. HUBER
                                                          United States Attorney

                                                          /s/ Allison J.P. Moon
                                                          ALLISON J.P. MOON
                                                          Assistant United States Attorney




15
     Mr. Lyman devotes the bulk of his Response to accusing the United States of politically-motivated malice,
     conspiring with the media to harass and defame him, and collusion with the Court and environmentalist groups,
     among other things, as well as to challenging the merits of his case and restitution order. Mr. Lyman’s conviction
     and restitution order were upheld on appeal, and his complaints about his trial and about judicial bias were found to
     be meritless. United States v. Wells, 873 F.3d 1241 (10th Cir. 2017). Equally meritless are Mr. Lyman’s claims that
     the United States colluded with the media or accompanied the media to Blanding. The United States’ Motion is
     nothing more than a routine attempt to collect a restitution debt. Because these meritless arguments are no substitute
     for actual evidence of Mr. Lyman’s financial condition, he has failed to carry his burden of proof and should be
     ordered to pay at least $500 per month towards restitution.

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                                CERTIFICATE OF SERVICE

       I hereby certify that I am an Assistant United States Attorney for the District of Utah, and

that copies of the UNITED STATES’ REPLY MEMORANDUM IN SUPPORT OF MOTION

TO AMEND THE MANNER AND SCHEDULE OF PAYMENT OF RESTITUTION and

exhibits thereto were served upon the parties by placing a copy of same in the United States mail,

postage prepaid, this 4th day of April, 2019, addressed as follows:

                       (un-redacted copies sent to)
                       Mr. Phillip Lyman
                       1401 North Blue Mountain Road
                       Blanding, UT 84511

                       (redacted copies sent to)
                       Mr. Monte Wells
                       216 West Center Street
                       Monticello, UT 84535

                                                             /s/ Allison J.P. Moon
                                                             Allison J.P. Moon, AUSA




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